     Case 2:20-cv-10878 Document 1 Filed 11/30/20 Page 1 of 21 Page ID #:1




      Michael Machat, Esq. SB#109475
 1    MACHAT & ASSOCIATES, P.C.
 2    8730 W. Sunset Blvd., Suite 250
      West Hollywood, California 90069
 3    Telephone: (310) 860-1833
      Email: michael@machatlaw.com
 4
 5    David A. Randall (SBN 156722)
      dave@hdmnlaw.com
 6    Ehab Samuel (SBN 228296)
      esamuel@hdmnlaw.com
 7
      HACKLER DAGHIGHIAN MARTINO & NOVAK P.C.
 8    10900 Wilshire Blvd., Suite 300
      Los Angeles, CA 90024
 9    Tel.: (310) 887-1333
10    Fax: (310) 887-1334

11    Attorneys for Plaintiff
      Vampire Family Brands, LLC
12
13                        UNITED STATES DISTRICT COURT
14                       CENTRAL DISTRICT OF CALIFORNIA
                               WESTERN DIVISION
15
16
17    VAMPIRE FAMILY BRANDS, LLC,            )   CASE NO.
                                             )
18
                  Plaintiff,                 )   COMPLAINT FOR TRADEMARK
19                                           )   INFRINGEMENT and UNFAIR
            vs.                              )   COMPETITION
20                                           )
21    THE HERSHEY COMPANY, and               )   DEMAND FOR JURY TRIAL
      DOES 1 – 20,                           )
22                                           )
                                             )
23                Defendants.                )
24                                           )
                                             )
25                                           )
                                             )
26                                           )
27                                           )
                                             )
28                                           )
                                                                                              Case 2:20-cv-10878 Document 1 Filed 11/30/20 Page 2 of 21 Page ID #:2




                                                                           1                         Plaintiff VAMPIRE FAMILY BRANDS, LLC hereby alleges and asserts:

                                                                           2
                                                                                                                     I.     JURISDICTION AND VENUE
                                                                           3
                                                                                                     1.     Plaintiff brings this action for injunctive relief and damages arising out
                                                                           4
                                                                                               of the unauthorized, unfair, and deceptive competitive practices of Defendants, and
                                                                           5
                                                                                               each of them, in connection with the commercial use and exploitation of trademarks
                                                                           6
                                                                                               in violation of the Lanham Act.
                                                                           7
                                                                                                     2.     This action arises under the Trademark Laws of the United States,
                                                                           8
                                                                                               including particularly, Section 43 of the Lanham Act, 15 U.S.C. §1125.
                                                                  Facsimile: (310) 394-4477




                                                                           9
                                                                                               Jurisdiction is conferred on this Court by 15 U.S.C. Section 1121(a), by 28 U.S.C.
                                                                  10
                                                                                               Section 1338(a), in that this case arises under the Trademark Laws of the United
MACHAT & ASSOCIATES, P.C.




                                                                  11
                                      Telephone: (310) 860-1833




                                                                                               States, 15 U.S.C. Sections 1051, et seq., and by principles of pendent jurisdiction.
   West Hollywood, California 90069
   8730 W. Sunset Blvd., Ste. 500




                                                                  12
                                                                                               Venue is proper in this District under 28 U.S.C. §§ 1391(b).
                                                                  13
                                                                  14                                                          II.    THE PARTIES
                                                                  15                                 3.     Plaintiff VAMPIRE FAMILY BRANDS, LLC (“VAMPIRE FAMILY

                                                                  16                           BRANDS”) is a Delaware Limited Liability Company with its main business office

                                                                  17                           located in Los Angeles County, California.

                                                                  18                                 4.     Defendant The Hershey Company (“Hershey’s), is upon information

                                                                  19                           and belief, a Delaware Limited Liability Company, headquartered in Hershey,

                                                                  20                           Pennsylvania from which it sells chocolate throughout the United States, including

                                                                  21                           this District where it has shipped the accused product.

                                                                  22                                 5.     Plaintiff does not know the true names or capacities of defendants

                                                                  23                           named herein as DOES 1 through 20 inclusive, and therefore sues these defendants

                                                                  24                           by such fictitious names. Plaintiff will seek leave to amend this Complaint to allege

                                                                  25                           the true names, capacities, and circumstances alleging the liability of said defendants

                                                                  26                           at such time as the same is ascertained. Plaintiff is informed and believes and, on

                                                                  27                           that basis, alleges that each fictitiously named cross-defendant is responsible in some

                                                                  28

                                                                                                                                         2
                                                                                              Case 2:20-cv-10878 Document 1 Filed 11/30/20 Page 3 of 21 Page ID #:3




                                                                           1                   manner for the occurrences herein alleged and that Plaintiff's damages as herein
                                                                           2                   alleged were proximately caused by the conduct of such defendants.
                                                                           3                         6.     At all times herein mentioned, Plaintiff is informed and believes and
                                                                           4                   based thereon alleges that, at all times herein mentioned, each of the defendants sued
                                                                           5                   herein, were the agents, servants, employees or attorneys of their co- defendants, and
                                                                           6                   in doing the things hereinafter alleged were acting within the purpose, course and
                                                                           7                   scope of such agency and employment, and with the authority, permission and
                                                                           8                   consent of their co-Defendants.
                                                                  Facsimile: (310) 394-4477




                                                                           9
                                                                  10                                            III.   FACTS GIVING RISE TO THIS ACTION
MACHAT & ASSOCIATES, P.C.




                                                                  11                                 7.     Plaintiff VAMPIRE FAMILY BRANDS via its predecessors in interest
                                      Telephone: (310) 860-1833
   West Hollywood, California 90069
   8730 W. Sunset Blvd., Ste. 500




                                                                  12                           has been marketing food and beverages under the following brand names for many
                                                                  13                           years, including: VAMPIRE (for wines – US Trademark Registration No. 2263907);
                                                                  14                           DRACULA (for wine – US Trademark Registration No. 3319536); VAMPYRE (for
                                                                  15                           Spirits – US Trademark Registration No. 3082097); VAMPIRE (for chocolate and
                                                                  16                           coffee - US Trademark Registration No. 3669827) VAMPIRE for Olive oil and
                                                                  17                           Balsamic vinegar – US Trademark Registration No. 4776927); VAMP H20 (for
                                                                  18                           Water – US Trademark Registration No. 3895288); VAMPIRE (for Restaurant and
                                                                  19                           Bar Services – US Trademark Registration No. 3978444); VAMPIRE (for Glass
                                                                  20                           beverage-ware -- US Trademark Registration No. 3290011); and VAMPIRE TACO
                                                                  21                           (for Tacos – US Trademark Registration No. 4939034).
                                                                  22                                 8.     By virtue of its extended use in commerce, several of the
                                                                  23                           aforementioned registrations have become incontestable, including its registration
                                                                  24                           numbers 2263907, 3082097, 3290011, 3319536, 3669827, and 3978444.
                                                                  25                                 9.     VAMPIRE FAMILY BRANDS also is the owner of the slogans TASTE
                                                                  26                           OF IMMORTALITY and SIP THE BLOOD OF THE VINE, (TM Registrations
                                                                  27                           3167606 and 3079403, respectfully.)       Both of these marks also have become
                                                                  28                           incontestable.

                                                                                                                                         3
                                                                                              Case 2:20-cv-10878 Document 1 Filed 11/30/20 Page 4 of 21 Page ID #:4




                                                                           1                         10.   The origin of Vampire wine, and VAMPIRE FAMILY BRAND’s claim
                                                                           2                   of right goes back to 1988, when its founder released a French bottled Algerian Syrah
                                                                           3                   under the brand name Vampire. The first sale was to MCA Records and Alice
                                                                           4                   Cooper, and the wine was promoted under the slogan, “Sip the Blood of the Vine.”
                                                                           5                   Vampire Family Brand’s predecessors in interest began to use the slogan “Taste of
                                                                           6                   Immortality” by at least 1995, if not earlier. Although the labels have changed over
                                                                           7                   the years, along with the sourcing from Algeria to Italy to Transylvania and finally
                                                                           8                   to Napa, the marketing has remained playful.
                                                                  Facsimile: (310) 394-4477




                                                                           9                         11.   However, as the source of the wine shifted from Transylvania, Romania
                                                                  10                           to Napa, California, the marketing evolved to emphasize that the quality of the wine
MACHAT & ASSOCIATES, P.C.




                                                                  11                           was actually extremely good, with Vampire wine having won numerous gold medals
                                      Telephone: (310) 860-1833
   West Hollywood, California 90069
   8730 W. Sunset Blvd., Ste. 500




                                                                  12                           throughout the years and winning scores of 90 Points and higher.
                                                                  13                                 12.   Plaintiff’s VAMPIRE family of brands are available for the world to see
                                                                  14                           on its website VAMPIRE.COM, and Plaintiffs’ family of VAMPIRE Brands have
                                                                  15                           received coverage in various national magazines and newspapers, including Maxim,
                                                                  16                           InStyle, Elle, Shape, Star Magazine, the New York Times, the LA Times, the
                                                                  17                           Houston Chronicle, The Star Tribune, The Chicago Sun Times, and many more. In
                                                                  18                           addition, Plaintiffs’ VAMPIRE family of brands have been shown on various
                                                                  19                           national television shows, such as The View with Oprah Winfrey, Anderson Cooper
                                                                  20                           for approximately five minutes with Ashley Greene from Twilight fame, CNN
                                                                  21                           Headline News, MTV’s Viva La Bam, Food TV, and many more.
                                                                  22                                 13.   Plaintiff has been selling its VAMPIRE Fine Belgian Chocolate for
                                                                  23
                                                                                               approximately ten years. It is a truly high-quality chocolate imported from Belgium
                                                                  24
                                                                                               and available in one-ounce bars. Each bar of VAMPIRE Chocolate is marked with
                                                                  25
                                                                  26                           the VAMPIRE branding, as is the packaging for each bar and for each box. The

                                                                  27                           cacao content in Vampire Fine Belgian Chocolate is amongst the highest available
                                                                  28

                                                                                                                                        4
                                                                                              Case 2:20-cv-10878 Document 1 Filed 11/30/20 Page 5 of 21 Page ID #:5




                                                                           1                   and qualitatively speaking, it is in the ranks of the finest chocolates from Belgian
                                                                           2
                                                                                               and Switzerland.
                                                                           3
                                                                                                     14.      America also makes some fine chocolates, but the quality varies
                                                                           4
                                                                                               tremendously. Ghirardelli for instance has a reputation for making exceptional
                                                                           5
                                                                                               chocolates out of San Francisco, California. Sees Chocolates out of Los Angeles is
                                                                           6
                                                                                               widely known and many people’s favorite and since its acquisition by Warren
                                                                           7
                                                                                               Buffett’s company has expanded into airports throughout the country.
                                                                           8
                                                                                                     15.      At the lowest end of the extreme of quality chocolates is Hershey’s
                                                                  Facsimile: (310) 394-4477




                                                                           9
                                                                                               KISSES and Hershey’s chocolates in general. Upon information and belief, in order
                                                                  10
                                                                                               to maintain corporate profits, Hershey’s successfully lobbied the Food and Drug
MACHAT & ASSOCIATES, P.C.




                                                                  11
                                      Telephone: (310) 860-1833




                                                                                               Administration (“FDA”) to change the US Government’s definition of chocolate to
   West Hollywood, California 90069
   8730 W. Sunset Blvd., Ste. 500




                                                                  12
                                                                                               allow them to use less cocao, the primary ingredient of chocolate which comes from
                                                                  13
                                                                                               the cocao tree.
                                                                  14
                                                                                                     16.      It’s a mystery to consumers what substances are actually inside a
                                                                  15
                                                                                               Hershey’s KISS. But according to the package of the accused product, the
                                                                  16
                                                                                               ingredients listed are those listed below, in the order listed on the package:
                                                                  17
                                                                                                     MILK CHOCOLATE (SUGAR, SKIM MILK, COCOA BUTTER;
                                                                  18
                                                                                                     CHOCOLATE; MILK FAT; LECITHIN (SOY); NATURAL
                                                                  19
                                                                                                     FLAVOR; SUGAR; CORN SYRUP; HIGH FRUCTOSE CORN
                                                                  20
                                                                                                     SYRUP; CONTAINS 2% OR LESS OF: SORBITOL; CITRIC
                                                                  21
                                                                                                     ACID; NATURAL FLAVOR; POTASSIUM SORBAATE, TO
                                                                  22
                                                                                                     MAINTIAN FRESHNESS; INVERTASE; ARTIFICIAL COLOR
                                                                  23
                                                                                                     [RED 40]
                                                                  24
                                                                                                     17.      By contrast, the ingredients of a bar of VAMPIRE fine Belgium Milk
                                                                  25
                                                                                               Chocolate are simply: sugar, cocoa butter, full cream milk powder, cocoa beans,
                                                                  26
                                                                                               vanilla, soy lecithin (an emulsifier) while a bar of VAMPIRE fine Belgium Dark
                                                                  27
                                                                                               Chocolate are simply: Cocoa beans, sugar, cocoa butter, soy lecithin (an
                                                                  28
                                                                                               emulsifier.)
                                                                                                                                          5
                                                                                              Case 2:20-cv-10878 Document 1 Filed 11/30/20 Page 6 of 21 Page ID #:6




                                                                           1                         18.      The cocao content in VAMPIRE Fine Belgium Milk Chocolate is
                                                                           2                   33%, and the cocao content in VAMPIRE Fine Belguim Dark Chocolate is 60%.
                                                                           3                   HERSHEY’S KISSES do not taste like gourmet chocolate due to their low cocao
                                                                           4                   content and the addition of artificial substances that one would not find in gourmet
                                                                           5                   chocolate.     Vampire chocolate has no natural or artificial flavorings.
                                                                           6                         19.      According to ReadCacao.com, “A good chocolate should have no
                                                                           7                   more than around 4 ingredients: Cocoa beans, cocoa butter, sugar, milk powder or
                                                                           8                   alternative milk (if it’s a milk chocolate), and sometimes the addition of an
                                                                  Facsimile: (310) 394-4477




                                                                           9                   emulsifier.”
                                                                  10                                 20.      Hershey’s KISSES clearly are not good chocolate, and to a purist, are
MACHAT & ASSOCIATES, P.C.




                                                                  11                           not actually chocolate at all due to their low level of cocao.
                                      Telephone: (310) 860-1833
   West Hollywood, California 90069
   8730 W. Sunset Blvd., Ste. 500




                                                                  12                                 21.      Unfortunately, Vampire Family Brands recently learned that Hershey’s
                                                                  13                           began to use the VAMPIRE mark and apply it to their KISSES.
                                                                  14                                 22.      Vampire Family Brands saw that Hershey’s was advertising
                                                                  15                           VAMPIRE Chocolate on its www.hersheys.com website and is selling its infringing
                                                                  16                           product at Walmart, Target and Walgreens stores throughout the country. The use
                                                                  17                           of Plaintiff’s VAMPIRE mark in connection with the Hershey chocolates is likely
                                                                  18                           to cause confusion or mistake as to origin, source, and/or sponsorship. Such use
                                                                  19                           will undermine the good will that Plaintiff has built up in its VAMPIRE brand.
                                                                  20                                 23.      On October 29, 2020, Plaintiff purchased a couple bags of the
                                                                  21                           infringing product from a Target Store on the corner of La Brea and Santa Monica
                                                                  22                           Blvd., in Los Angeles.
                                                                  23                                 24.      Normally Hershey’s has a narrow strip of paper sticking out from the
                                                                  24                           silver wrapping on top of one of its KISSES that says the word “KISSES.” The
                                                                  25                           strip of paper has a functional purpose too. Pulling on the paper makes it easier to
                                                                  26                           remove the wrapping.
                                                                  27                                 25.      Recently Hershey’s changed its packaging so that instead of writing
                                                                  28                           their traditional brand KISSES on the narrow strip of paper, Hershey’s began

                                                                                                                                          6
                                                                                              Case 2:20-cv-10878 Document 1 Filed 11/30/20 Page 7 of 21 Page ID #:7




                                                                           1                   writing Plaintiff’s VAMPIRE brand on the narrow strip of paper as seen on Exhibit
                                                                           2                   A below.
                                                                           3                         26.    The new KISSES branded with Plaintiff’s VAMPIRE mark on the
                                                                           4                   piece of chocolate are sold in a bag that weighs 9 ounces. Pictures of the new
                                                                           5                   KISSES branded with Plaintiff’s VAMPIRE mark on the piece of chocolate appear
                                                                           6                   prominently on the front side of the bag as seen on Exhibit A
                                                                           7                         27.    The back of the bag says: VAMPIRE HERSHEY’S KISSES with the
                                                                           8                   word VAMPIRE appearing in a stylized font with an exaggerated long edge at the
                                                                  Facsimile: (310) 394-4477




                                                                           9                   bottom of the V and an exaggerated long edge of the “v” within the letter M in
                                                                  10                           VAMPIRE as pictured below in Exhibit B.
MACHAT & ASSOCIATES, P.C.




                                                                  11                                 28.    The VAMPIRE MARK is three times the size of HERSHEYS’ and is
                                      Telephone: (310) 860-1833
   West Hollywood, California 90069
   8730 W. Sunset Blvd., Ste. 500




                                                                  12                           approximately the same height as KISSES.
                                                                  13                                 29.    On the front side of the package, above the descriptive words “milk
                                                                  14                           chocolate” the VAMPIRE mark appears in the stylized form four or five times
                                                                  15                           larger than the words milk chocolate, indicating that the contents of the bag contain
                                                                  16                           VAMPIRE branded milk chocolate. (Please see Exhibit A.)
                                                                  17                                 30.    On the side of the package, the stylized form of Plaintiff’s VAMPIRE
                                                                  18                           mark appears just as large as KISSES and five times larger than HERSHEY’S (as
                                                                  19                           depicted in Exhibit C.) In sum, defendant Hershey’s has misappropriated plaintiff’s
                                                                  20                           VAMPIRE mark and used it to co-brand Hershey’s chocolate product as Hershey’s
                                                                  21                           VAMPIRE KISSES.
                                                                  22                                 31.    Upon information and belief, Hershey’s intentionally chose the
                                                                  23                           VAMPIRE mark for their chocolate products. Upon information and belief
                                                                  24                           intentionally chose to use the VAMPIRE mark knowing that Plaintiff had numerous
                                                                  25                           Vampire trademarks, including one for chocolate.
                                                                  26                                 32     Plaintiff markets its brands through a national network of wholesalers,
                                                                  27                           and via the website: www.vampire.com. Vampire wine sells for anywhere between
                                                                  28                           $10 to $15 per bottle nationally at retail stores. Vampire wine is also available in

                                                                                                                                         7
                                                                                              Case 2:20-cv-10878 Document 1 Filed 11/30/20 Page 8 of 21 Page ID #:8




                                                                           1                   bars and restaurants on wine lists. A box of 25 one-ounce bars of VAMPIRE fine
                                                                           2                   Belgium chocolate is $69.95 . By contrast 9 ounces of the accused product sells for
                                                                           3                   approximately $3 at Target. The vast difference in pricing reflects the vast difference
                                                                           4                   in quality as well. The vast difference in pricing and quality is also reflective of the
                                                                           5                   irreparable harm being done to Plaintiff’s VAMPIRE brand and goodwill.
                                                                           6
                                                                                                     33.    Plaintiff and its associates have worked hard to ensure that they put the
                                                                           7
                                                                                               best products possible under the VAMPIRE brand. In addition to only using the fine
                                                                           8
                                                                                               Belgium chocolate in VAMPIRE chocolate products, over the last few years,
                                                                  Facsimile: (310) 394-4477




                                                                           9
                                                                                               Plaintiff’s Vampire family of wines have received some great reviews and have won
                                                                  10
                                                                                               Gold Medals, including Gold Medals at the San Francisco Chronical Wine
MACHAT & ASSOCIATES, P.C.




                                                                  11
                                      Telephone: (310) 860-1833




                                                                                               Competition for its Vampire Merlot, Vampire Cabernet Sauvignon, Vampire Pinot
   West Hollywood, California 90069
   8730 W. Sunset Blvd., Ste. 500




                                                                  12
                                                                                               Noir, a Gold Medal and 92 Rating from the Los Angeles International Wine & Spirits
                                                                  13
                                                                                               Competition awarded to Vampire Cabernet Sauvignon, Gold Medals at the Texas
                                                                  14
                                                                                               International Rodeo Wine Competition, and 92 and 97 point ratings for its highest
                                                                  15
                                                                                               end Trueblood Cabernet Sauvignon.
                                                                  16
                                                                  17                                 34.    Plaintiff has spent substantial amounts of time and money building up,
                                                                  18                           advertising, and promoting its VAMPIRE branded products.             By virtue of the
                                                                  19                           popularity of its VAMPIRE branded products, its advertising, promotion, and sales,
                                                                  20                           plus the popularity of its websites, including vampire.com, Plaintiff has built up and
                                                                  21                           own extremely valuable goodwill which is symbolized by Plaintiff’s various
                                                                  22                           VAMPIRE family of marks.
                                                                  23                                 35.    Defendants intentional wrongful acts are harming Plaintiff’s VAMPIRE
                                                                  24                           family of branded products and reputation.
                                                                  25                                 36.    If defendants are not stopped from marketing chocolate using
                                                                  26                           Plaintiff’s VAMPIRE mark and or a mark confusingly similar to VAMPIRE, then
                                                                  27                           consumers will likely be confused about the source and origin of Defendants’
                                                                  28

                                                                                                                                          8
                                                                                              Case 2:20-cv-10878 Document 1 Filed 11/30/20 Page 9 of 21 Page ID #:9




                                                                           1                   products and services and mistakenly conclude that Defendants’ products or
                                                                           2                   services are produced by, or associated with Plaintiff and/or its licensees.
                                                                           3                         37.      Alternatively, if Defendants are not stopped from marketing food
                                                                           4                   using Plaintiff’s Vampire mark or a mark confusingly similar to Vampire, then
                                                                           5                   consumers will likely be confused about the source and origin of Plaintiff’s (or its
                                                                           6                   licensees’) products and services and mistakenly conclude that Plaintiff’s (or its
                                                                           7                   licensees’) products or services are produced by, or associated with Defendants.
                                                                           8
                                                                                                                             COUNT I
                                                                  Facsimile: (310) 394-4477




                                                                           9                                  VIOLATION OF LANHAM ACT 15 U.S.C. §1125(a)
                                                                  10                                 38.      Plaintiff realleges the allegations in paragraphs 1 though 37.
MACHAT & ASSOCIATES, P.C.




                                                                  11                                 39.      Defendants have large resources with which to market and advertise its
                                      Telephone: (310) 860-1833
   West Hollywood, California 90069
   8730 W. Sunset Blvd., Ste. 500




                                                                  12                           goods and services.       Defendants’ resources vastly exceed those of Plaintiff.
                                                                  13                           Consequently, marketing and advertising efforts by Defendants are likely to mislead
                                                                  14                           consumers to believe that Plaintiff’s VAMPIRE chocolate may be unauthorized use
                                                                  15                           of trademarks that Hershey’s owns. If defendants are able to continue their wrongful
                                                                  16                           acts, consumers are likely to be misled to believe that Plaintiff is misusing the
                                                                  17                           VAMPIRE mark. If defendants are able to continue their wrongful acts, it would
                                                                  18                           seem natural for consumers to mistakenly come to believe that since Hershey’s sells
                                                                  19                           VAMPIRE KISSES, it too would have some affiliation with Plaintiff’s other
                                                                  20                           trademarked goods and services. As a result, Plaintiffs’ reputation and goodwill will
                                                                  21                           be impaired.
                                                                  22                                 37.      Also, Defendants’ use of the word VAMPIRE for chocolate so closely
                                                                  23                           resembles Plaintiff’s products and services (including Plaintiff’s Vampire chocolate
                                                                  24                           mark) that the public is likely to be confused and deceived, and to assume erroneously
                                                                  25                           that defendants’ goods are those of Plaintiff, or that defendants are in some way
                                                                  26                           connected with, sponsored by, or affiliated with Plaintiff, all to Plaintiff’s detriment
                                                                  27                           and irreparable damage.
                                                                  28

                                                                                                                                           9
                                                                                     Case 2:20-cv-10878 Document 1 Filed 11/30/20 Page 10 of 21 Page ID #:10




                                                                           1                        38.    Defendants are not affiliated with, connected with, endorsed by, or
                                                                           2                  sponsored by Plaintiff, nor has Plaintiff approved or authorized any of the goods or
                                                                           3                  services offered or sold by defendants.
                                                                           4                        39.    Plaintiff has no control over the nature and quality of the goods and
                                                                           5                  services offered and sold by defendants or its licensees. Any failure, neglect, or
                                                                           6                  default by defendants or its licensees in providing such products or services will
                                                                           7                  reflect adversely on Plaintiff as being the believed source of said failure, neglect, or
                                                                           8                  default, thereby hampering Plaintiff’s efforts to continue to protect its outstanding
                                                                  Facsimile: (310) 394-4477




                                                                           9                  reputation and preventing Plaintiff from further building its reputation. Said failure,
                                                                  10                          neglect, or default will result in loss of revenue by Plaintiff, and loss of value of
MACHAT & ASSOCIATES, P.C.




                                                                  11                          Plaintiff’s considerable expenditures to promote its goods and services under the
                                      Telephone: (310) 860-1833
   West Hollywood, California 90069
   8730 W. Sunset Blvd., Ste. 500




                                                                  12                          VAMPIRE mark, all to the irreparable harm of Plaintiff.
                                                                  13                                40.    Without the knowledge or consent of Plaintiff, Defendants have
                                                                  14                          marketed and sold in interstate commerce, and in commerce substantially affecting
                                                                  15                          interstate commerce, chocolate branded under the VAMPIRE mark and continue to
                                                                  16                          do so. Defendants have promoted, publicized, advertised, offered for sale, and/or
                                                                  17                          sold, chocolate using the VAMPIRE mark through persons not authorized, employed
                                                                  18                          by, or associated in any way with Plaintiff and have used the aforementioned trade
                                                                  19                          name and trademark as a false designation and false representation for food products.
                                                                  20                                41.    None of Defendants’ activities complained of in this complaint have
                                                                  21                          been authorized by Plaintiff, and such unauthorized use by Defendants of Plaintiff’s
                                                                  22                          trademarks and/or trade names in interstate commerce, commerce substantially
                                                                  23                          affecting interstate commerce in this district, and elsewhere throughout the United
                                                                  24                          States, constitutes infringement and an inducement to infringe Plaintiff’s trademarks
                                                                  25                          and/or trade names, and such activities are likely to cause confusion, mistakes, and
                                                                  26                          to deceive the public at large.
                                                                  27                                42.    Upon information and belief, Defendants have acted with the
                                                                  28                          unlawful purpose of:

                                                                                                                                        10
                                                                                     Case 2:20-cv-10878 Document 1 Filed 11/30/20 Page 11 of 21 Page ID #:11




                                                                           1                               a. Improperly taking advantage of the valuable goodwill belonging to
                                                                           2                                  Plaintiff;
                                                                           3                               b. Soliciting   Plaintiff’s customers and/or potential customers,
                                                                           4                                  attempting to sell, and selling to such customers and potential
                                                                           5                                  customers, goods and services marketed under the VAMPIRE mark
                                                                           6                                  through persons not authorized by, employed by, or associated in any
                                                                           7                                  way with Plaintiff;
                                                                           8                               c. Inducing others to infringe Plaintiff’s trademarks and trade names;
                                                                  Facsimile: (310) 394-4477




                                                                           9                                  and
                                                                  10                                       d. Causing the goods of persons not authorized by, employed by, or
MACHAT & ASSOCIATES, P.C.




                                                                  11                                          associated in any way with Plaintiff to be falsely represented as if
                                      Telephone: (310) 860-1833
   West Hollywood, California 90069
   8730 W. Sunset Blvd., Ste. 500




                                                                  12                                          they were rendered, authorized, sponsored by, endorsed by, or
                                                                  13                                          otherwise connected with Plaintiff and its licensed trademarks and
                                                                  14                                          trade names.
                                                                  15                                43.    Defendants’ conduct, as alleged in this complaint, constitutes a
                                                                  16                          violation of 15 U.S.C. § 1125(a).
                                                                  17                                44.    If Defendants are allowed to continue marketing and selling the
                                                                  18                          accused goods and services, Plaintiff will be damaged as alleged in this complaint,
                                                                  19                          and the Defendants will profit thereby. Furthermore, unless the Court permanently
                                                                  20                          enjoins Defendants conduct as alleged in this complaint, Plaintiff’s business,
                                                                  21                          goodwill, and reputation will suffer irreparable injury of an insidious and continuing
                                                                  22                          sort that cannot be adequately calculated and compensated in monetary damages.
                                                                  23                                45.    Defendants’ aforementioned acts and conduct is being done
                                                                  24                          willfully and with an intent to ride on, and/or step on and demolish, the goodwill
                                                                  25                          Plaintiff has worked hard to develop. Plaintiff is therefore entitled to treble damages
                                                                  26                          arising therefore, as well as reimbursement of Plaintiff’s attorneys’ fees and costs.
                                                                  27                                46.    The intentional nature of defendant’s acts makes this an exceptional case
                                                                  28                          under 15 U.S.C. §1117(a).

                                                                                                                                        11
                                                                                     Case 2:20-cv-10878 Document 1 Filed 11/30/20 Page 12 of 21 Page ID #:12




                                                                           1                          47.   The intentional nature of defendant’s acts and conduct makes this a case
                                                                           2                  suitable for an award of Three Times Defendants’ profits, plus Plaintiff’s attorneys
                                                                           3                  fees.
                                                                           4
                                                                                                                              COUNT II
                                                                           5                                    VIOLATION OF LANHAM ACT 15 U.S.C. §1114
                                                                           6                          48.   Plaintiff repeats each allegation contained in paragraphs 1 through 47
                                                                           7                  as though set forth herein at length.
                                                                           8                          49.   Defendants have engaged in, and continue to engage in, the wrongful
                                                                  Facsimile: (310) 394-4477




                                                                           9                  exploitation of Plaintiff’s registered marks.
                                                                  10                                  50.   Defendants’ goods are so closely related to Plaintiff’s goods that the
MACHAT & ASSOCIATES, P.C.




                                                                  11                          public is likely to be confused, to be deceived, and to erroneously assume that
                                      Telephone: (310) 860-1833
   West Hollywood, California 90069
   8730 W. Sunset Blvd., Ste. 500




                                                                  12                          Defendants’ marketing and sale of their VAMPIRE branded goods and services, as
                                                                  13                          packaged, advertised and promoted, are those of Plaintiff, or that Defendants are in
                                                                  14                          some way connected with, sponsored by, or affiliated with Plaintiff, all to
                                                                  15                          Plaintiff’s detriment and irreparable damage.
                                                                  16                                  51.   Defendants are not affiliated with, connected with, endorsed by, or
                                                                  17                          sponsored by Plaintiff. Furthermore, Plaintiff has not approved any of the goods or
                                                                  18                          services offered or sold by Defendants.
                                                                  19                                  52.   Defendants aforesaid infringing conduct has been willful and with an
                                                                  20                          intent to ride on, and/or step on and demolish, the goodwill Plaintiff has worked
                                                                  21                          hard to develop. Defendants’ aforesaid infringing conduct has been willful and
                                                                  22                          with knowledge that the sale, marketing, advertisement, and promotion of their
                                                                  23                          Vampire branded tacos and restaurant services will hinder the prospects of future
                                                                  24                          commercial success of Plaintiff’s VAMPIRE family of brands, including its further
                                                                  25                          foray into the food, cocktail and restaurant space. Plaintiff is therefore entitled to
                                                                  26                          treble damages arising therefrom, as well as reimbursement of Plaintiff’s attorneys’
                                                                  27                          fees and costs.
                                                                  28

                                                                                                                                         12
                                                                                     Case 2:20-cv-10878 Document 1 Filed 11/30/20 Page 13 of 21 Page ID #:13




                                                                           1
                                                                                                                       COUNT III
                                                                           2                       UNFAIR COMPETITION – COMMON LAW, AND CALIFORNIA
                                                                           3                            BUSINESS & PROFESSIONS CODE §§ 17200 et seq.
                                                                           4
                                                                           5                        53.    Plaintiff repeats each allegation contained in paragraphs 1 through 52

                                                                           6                  as though set forth herein at length.

                                                                           7                        54.    Defendants have engaged in unfair competition perpetrated against

                                                                           8                  Plaintiff by reason of the conduct alleged herein.
                                                                  Facsimile: (310) 394-4477




                                                                           9                        55.    The unlawful and unfair conduct is injuring the goodwill of Plaintiff

                                                                  10                                and its lawful licensees.
                                                                                                    56.    Defendants are liable for the unfair competition, and/or are liable for
MACHAT & ASSOCIATES, P.C.




                                                                  11
                                      Telephone: (310) 860-1833




                                                                                              aiding and abetting such conduct.
   West Hollywood, California 90069
   8730 W. Sunset Blvd., Ste. 500




                                                                  12
                                                                  13                                57.    By this conduct, Plaintiff has directly suffered injuries and each

                                                                  14                          Defendant has been unjustly enriched.

                                                                  15                                58.    Plaintiff is entitled to restitution, the recovery of damages, and the

                                                                  16                          recovery of the profits earned by Defendants by virtue of their conduct.

                                                                  17                                59.    As a consequence of the unfair competition by Defendants, Plaintiff is

                                                                  18                          suffering irreparable injury, by reason of which such conduct should be enjoined.

                                                                  19                                60.    Plaintiff is entitled to reasonable attorneys’ fees.

                                                                  20                                61.    Plaintiff is informed and believes, and on that basis alleges, that the

                                                                  21                          aforementioned conduct of Defendants is willful, oppressive, fraudulent, and

                                                                  22                          malicious, and Plaintiff is therefore entitled to punitive damages.

                                                                  23                                                 COUNT IV
                                                                  24                          UNFAIR COMPETITION – COMMON LAW, CALIFORNIA BUSINESS &
                                                                                                          PROFESSIONS CODE §§ 17500 et seq.
                                                                  25
                                                                  26
                                                                                                    62.    Plaintiff repeats each allegation contained in paragraphs 1 through 61
                                                                  27
                                                                                              as though set forth here at length.
                                                                  28

                                                                                                                                         13
                                                                                     Case 2:20-cv-10878 Document 1 Filed 11/30/20 Page 14 of 21 Page ID #:14




                                                                           1                        63.     Defendants’ use of Plaintiff’s family of VAMPIRE brands and
                                                                           2                  trademarks misrepresents the nature, characteristics, identity, and source or
                                                                           3                  sponsorship of Defendants’ goods and services, constitutes aiding and abetting
                                                                           4                  liability for deceptive, untrue, and misleading advertising and therefore constitutes
                                                                           5                  a violation of, inter alia, California Business and Professions Code §§17500 et seq.
                                                                           6                  and Cali4ornia common law.
                                                                           7                        64.     Defendants’ use of Plaintiff’s family of VAMPIRE brands and
                                                                           8                  trademarks is likely to deceive and will continue to deceive the consuming public.
                                                                  Facsimile: (310) 394-4477




                                                                           9                  Defendants knew, recklessly disregarded, or reasonably should have known that
                                                                  10                          such packaging, advertising, marketing, and promotion was untrue and/or
MACHAT & ASSOCIATES, P.C.




                                                                  11                          misleading.
                                      Telephone: (310) 860-1833
   West Hollywood, California 90069
   8730 W. Sunset Blvd., Ste. 500




                                                                  12                                65.     As a result of the conduct described above, Defendants have been
                                                                  13                          and/or will be unjustly enriched at the expense of Plaintiff and the general public.
                                                                  14                          The interests of the general public and Plaintiff are, therefore, closely related.
                                                                  15                                66.     Defendants have been unjustly enriched, among other things, by the
                                                                  16                          receipt of sales revenues from consumers who mistakenly thought that they were
                                                                  17                          purchasing Plaintiff’s VAMPIRE goods and/or goods sponsored by Plaintiff, but
                                                                  18                          instead were purchasing Defendants’ goods which are promoted and sold through
                                                                  19                          advertisements that affirmatively misrepresent, either directly or by implication, the
                                                                  20                          nature, characteristics, identity, and source or sponsorship of the goods.
                                                                  21                                67.     Pursuant to Business and Professions Code §§ 17203 and 17535,
                                                                  22                          Plaintiff, on behalf of itself and the general public, which is unable effectively to
                                                                  23                          assert its interests, seeks an order of this Court ordering Defendants immediately to
                                                                  24                          cease such acts of unfair competition and false advertising, and enjoining
                                                                  25                          Defendants from continuing to market, promote, advertise, offer for sale, and sell,
                                                                  26                          and advertise goods or services using the Vampire mark. Plaintiff additionally
                                                                  27                          requests an order disgorging Defendants’ ill-gotten gains and restitution of all
                                                                  28                          monies wrongfully acquired by Defendants by means of its acts of unfair

                                                                                                                                         14
                                                                                     Case 2:20-cv-10878 Document 1 Filed 11/30/20 Page 15 of 21 Page ID #:15




                                                                           1                  competition and false advertising. Plaintiff further requests they be paid interest
                                                                           2                  and attorneys’ fees.
                                                                           3
                                                                                                    WHEREFORE, Plaintiff prays for judgment as follows:
                                                                           4
                                                                                                    1.     That the Court adjudge and decree that Defendants have falsely
                                                                           5
                                                                                              designated the origin of certain goods and services as those of Plaintiff, have made
                                                                           6
                                                                                              and used false representations in connection with the sale, offering for sale,
                                                                           7
                                                                                              promotion and advertising of such goods and services, and have unfairly competed
                                                                           8
                                                                  Facsimile: (310) 394-4477




                                                                                              with Plaintiff at common law.
                                                                           9
                                                                                                    2.     That the Court adjudge and decree that Defendants have infringed
                                                                  10
                                                                                              Plaintiff’s registered VAMPIRE trademarks.
MACHAT & ASSOCIATES, P.C.




                                                                  11
                                      Telephone: (310) 860-1833




                                                                                                    3.     That the Court adjudge and decree that Defendants unlawfully induced
   West Hollywood, California 90069
   8730 W. Sunset Blvd., Ste. 500




                                                                  12
                                                                                              others to infringe upon Plaintiff’s trademarks.
                                                                  13
                                                                                                    4.     That the Court permanently enjoin Defendants, its agents, servants,
                                                                  14
                                                                                              employees, attorneys, and all persons acting in concert or participation with them,
                                                                  15
                                                                                              or with any of them from:
                                                                  16
                                                                                                           a. Using VAMPIRE, or any other word or words which are similar to,
                                                                  17
                                                                                                              or a colorable imitation of, Plaintiff’s trade names and marks, either
                                                                  18
                                                                                                              alone, as part of, or together with, any other word or words,
                                                                  19
                                                                                                              trademark, service mark, trade name, or other business or
                                                                  20
                                                                                                              commercial designation in connection with the sale, offering for
                                                                  21
                                                                                                              sale, advertising, and/or promotion of food or beverages. ;
                                                                  22
                                                                                                           b. Selling, offering to sell, marketing, distributing, advertising and/or
                                                                  23
                                                                                                              promoting any FOOD product, goods or service with the word
                                                                  24
                                                                                                              VAMPIRE displayed on any product, packaging, advertising or
                                                                  25
                                                                                                              promotional materials;
                                                                  26
                                                                                                           c. Representing directly or indirectly by words or conduct that any
                                                                  27
                                                                                                              food product, goods or services offered for sale, sold, promoted, or
                                                                  28

                                                                                                                                        15
                                                                                     Case 2:20-cv-10878 Document 1 Filed 11/30/20 Page 16 of 21 Page ID #:16




                                                                           1                                   advertised by Defendant, is authorized, sponsored by, endorsed by,
                                                                           2                                   or otherwise connected with Plaintiff;
                                                                           3                               d. Aiding or abetting in unfair competition against Plaintiff;
                                                                           4                               e. Aiding or abetting in false advertising; and
                                                                           5                               f. Inducing others to engage in any of these aforementioned acts.
                                                                           6                        5.     That the Court award an amount to be determined at trial but at least
                                                                           7                  an amount equivalent to treble the amount of Defendants’ illicit profits or Plaintiff’s
                                                                           8                  lost profits, whichever is greater.
                                                                  Facsimile: (310) 394-4477




                                                                           9                        6.     That the Court award an amount to be determined at trial but at least
                                                                  10                          an amount equal to the cost of prospective corrective advertising to cover a national
MACHAT & ASSOCIATES, P.C.




                                                                  11                          campaign at least ten times the size of defendant’s unlawful promotional campaign.
                                      Telephone: (310) 860-1833
   West Hollywood, California 90069
   8730 W. Sunset Blvd., Ste. 500




                                                                  12                                7.     That the Court award Judgment against Defendant for the full costs of
                                                                  13                          this action, including the attorney’s fees reasonably incurred by Plaintiff.
                                                                  14                                8.     That the Court Order such other, further and different relief as the
                                                                  15                          nature of this action may require and as the Court may deem just and proper.
                                                                  16                                9.     That the Court retain jurisdiction of this action for the purpose of
                                                                  17                          enabling Plaintiff, in its discretion, to apply to this Court at any time for such
                                                                  18                          further orders and directions as may be necessary or appropriate for the
                                                                  19                          interpretation or execution of any Order entered in this action, for the modification
                                                                  20                          of any such Order, for the enforcement of compliance therewith, and/or for the
                                                                  21                          punishment of any violation thereof.
                                                                  22                                                                     Respectfully submitted,
                                                                  23                                                                     MACHAT & ASSOCIATES, P.C.

                                                                  24                          Dated: November ___,
                                                                                                               30 2020                   By:
                                                                  25                                                                     Michael Machat, Esq.
                                                                                                                                         Attorneys for Plaintiff
                                                                  26                                                                     Vampire Family Brands, LLC
                                                                  27
                                                                                                                                         Michael Machat, Esq. (SBN 109475)
                                                                  28                                                                     michael@machatlaw.com
                                                                                                                                         16
                                                                                     Case 2:20-cv-10878 Document 1 Filed 11/30/20 Page 17 of 21 Page ID #:17




                                                                           1                                                 MACHAT & ASSOCIATES, P.C.
                                                                                                                             8730 W. Sunset Blvd., Suite 250
                                                                           2                                                 West Hollywood, California 90069
                                                                           3                                                 Tel.: (310) 860-1833
                                                                           4                                                 David A. Randall (SBN 156722)
                                                                           5                                                 dave@hdmnlaw.com
                                                                                                                             Ehab Samuel (SBN 228296)
                                                                           6
                                                                                                                             esamuel@hdmnlaw.com
                                                                           7                                                 HACKLER DAGHIGHIAN MARTINO
                                                                                                                             & NOVAK P.C.
                                                                           8
                                                                                                                             10900 Wilshire Blvd., Suite 300
                                                                  Facsimile: (310) 394-4477




                                                                           9                                                 Los Angeles, CA 90024
                                                                  10                                                         Tel.: (310) 887-1333
                                                                                                                             Fax: (310) 887-1334
MACHAT & ASSOCIATES, P.C.




                                                                  11
                                      Telephone: (310) 860-1833
   West Hollywood, California 90069
   8730 W. Sunset Blvd., Ste. 500




                                                                  12
                                                                  13
                                                                  14
                                                                  15
                                                                  16
                                                                  17
                                                                  18
                                                                  19
                                                                  20
                                                                  21
                                                                  22
                                                                  23
                                                                  24
                                                                  25
                                                                  26
                                                                  27
                                                                  28

                                                                                                                             17
                                                                                     Case 2:20-cv-10878 Document 1 Filed 11/30/20 Page 18 of 21 Page ID #:18




                                                                           1                                           DEMAND FOR JURY TRIAL
                                                                           2                       Plaintiff hereby requests a trial by jury on all issues raised by the Complaint.
                                                                           3
                                                                           4                                                         Respectfully submitted,
                                                                           5                                                       MACHAT & ASSOCIATES, P.C.

                                                                           6                                   30 2020
                                                                                              Dated: November ___,                     By:
                                                                           7                                                           Michael Machat, Esq.
                                                                                                                                       Attorneys for Plaintiffs
                                                                           8                                                           Vampire Family Brands, LLC
                                                                  Facsimile: (310) 394-4477




                                                                           9
                                                                                                                                       Michael Machat, Esq. (SBN 109475)
                                                                  10
                                                                                                                                       michael@machatlaw.com
MACHAT & ASSOCIATES, P.C.




                                                                  11                                                                   MACHAT & ASSOCIATES, P.C.
                                      Telephone: (310) 860-1833




                                                                                                                                       8730 W. Sunset Blvd., Suite 250
   West Hollywood, California 90069
   8730 W. Sunset Blvd., Ste. 500




                                                                  12
                                                                                                                                       West Hollywood, California 90069
                                                                  13                                                                   Tel.: (310) 860-1833
                                                                  14
                                                                                                                                       David A. Randall (SBN 156722)
                                                                  15                                                                   dave@hdmnlaw.com
                                                                  16                                                                   Ehab Samuel (SBN 228296)
                                                                                                                                       esamuel@hdmnlaw.com
                                                                  17                                                                   HACKLER DAGHIGHIAN MARTINO
                                                                  18                                                                   & NOVAK P.C.
                                                                                                                                       10900 Wilshire Blvd., Suite 300
                                                                  19
                                                                                                                                       Los Angeles, CA 90024
                                                                  20                                                                   Tel.: (310) 887-1333
                                                                  21                                                                   Fax: (310) 887-1334

                                                                  22
                                                                  23
                                                                  24
                                                                  25
                                                                  26
                                                                  27
                                                                  28

                                                                                                                                      18
Case 2:20-cv-10878 Document 1 Filed 11/30/20 Page 19 of 21 Page ID #:19




                             EXHIBIT A
Case 2:20-cv-10878 Document 1 Filed 11/30/20 Page 20 of 21 Page ID #:20




                              EXHIBIT B
Case 2:20-cv-10878 Document 1 Filed 11/30/20 Page 21 of 21 Page ID #:21




                              EXHIBIT C
